               Case 4:19-cv-01848 Document
                                     NATHAN226-2 Filed JACOBS
                                             SOMMERS   on 06/22/23 in TXSD Page 1 of 7
                                             A PROFESSIONAL CORPORATION
                                            2800 POST OAK BLVD., 61ST FLOOR
                                                                                                         EXHIBIT
                                               HOUSTON, TEXAS 77056-6102
                                               TELEPHONE NO. 713-960-0303
                                                                                                            2
                                                FACSIMILE NO. 713-892-4800



                                                                                                                          PAGE: 1
     DONGTAI INVESTMENT GROUP, LLC                                                                                  JUNE 08, 2023
     11200 WESTHEIMER                                                                      CLIENT.MATTER NO.       190218-22296
     SUITE 120                                                                                   INVOICE NO.:             149166
     HOUSTON TX 77042




     FEDERAL RECEIVERSHIP - (RJS TIME)




             Payments received after 06/08/2023 are not included on this statement.



                                         FOR PROFESSIONAL SERVICES THROUGH 06/07/2023

                                                                                                            HOURS

07/07/2022   SEND E-MAIL TO GOLDEN BANK REGARDING TURNOVER OF FUNDS ON DEPOSIT.                                 0.20
             SEND E-MAIL TO TO K. PETERS REGARDING LITIGATION.                                                  0.10
             SEND E-MAIL TO NIZAM REGARDING BOOKS AND RECORDS.                                                  0.10
             TELEPHONE CONFERENCE WITH NIZAM REGARDING BOOKS AND RECORDS.                                       0.40
             SEND SEVERAL E-MAILS TO Y. LI REGARDING CONTACTS AND EIN.                                          0.10
             DRAFT MOTION FOR CLAIMS BAR DATE.                                                                  0.70

07/08/2022   REVIEW E-MAILS TO AND FROM W. EGGELSTON REGARDING INSURANCE CLAIM.                                 0.70
             REVISE MOTION FOR BAR DATE.                                                                        0.50
             TELEPHONE CONFERENCE WITH B. CHEN REGARDING TURNOVER OF FUNDS.                                     0.30
             SEND E-MAIL TO Y. LI REGARDING CONTACT INFORMATION.                                                0.10
             TELEPHONE CONFERENCE WITH K. PATEL.                                                                0.40

07/11/2022   REDRAFT MOTION TO ESTABLISH BAR DATE.                                                              0.60
             SEND E-MAIL TO Y. LI REGARDING TURNOVER OF BOOKS AND RECORDS.                                      0.10
             TELEPHONE CONFERENCE WITH M. UDAYAN'S DAUGHTER REGARDING DOCUMENTS.                                0.40
             SEND E-MAIL TO GOLDEN BANK REGARDING TURNOVER.                                                     0.10
             SEND E-MAIL TO INSURANCE COUNSEL AND IDENTIFY OTHER PEOPLE WITH KNOWLEDGE OF
             CLAIM.                                                                                             0.40
             REVIEW SEVERAL E-MAILS FROM B. CHEN REGARDING TURNOVER OF FUNDS.                                   0.10
             SEND MULTIPLE E-MAILS TO B. CHEN REGARDING BANKING RELATIONSHIP OF DONGTAI.                        0.30
             TELEPHONE CONFERENCE WITH R. CULTIBRIENO REGARDING ACCOUNTING AND DOCUMENTS OF
             RECEIVERSHIP.                                                                                      0.40
             TELEPHONE CONFERENCE WITH B. EGGELSTON REGARDING INSURANCE CLAIM AND REVIEW OF
             INSURANCE DOCUMENTS.                                                                               0.90

07/12/2022   SEND E-MAIL TO H. WELBERG, COUNSEL FOR PROBATE ESTATE REGARDING TURNOVER OF
             DOCUMENTS..                                                                                        0.30

07/13/2022   REVIEW E-MAIL FROM W. EGGELSTON; REVIEW CONTRACT FOR PURCHASE AND SALE OF CROWNE
             PLAZA; REVIEW AGREEMENT; REVIEW DENIAL LETTER FROM COUNSEL REVIEW OF UDAYAN
             EXAMINATION UNDER OATH.                                                                            3.90

07/14/2022   SEND AND RECEIVE MULTIPLE E-MAILS TO B. CHEN REGARDING BANKING DOCUMENTS.                          0.40
             TELEPHONE CONFERENCE WITH Y. LI REGARDING STATUS REPORT.                                           0.20

08/01/2022   REVIEW OF E-MAIL FROM T. TREMBLEY.                                                                 0.10
             REVIEW DEPOSITION OF RECEIVER.                                                                     0.70
             REVIEW BANK DOCUMENTS.                                                                             1.00

08/02/2022   REVIEW BANKING RECORDS AND E-MAIL FROM GOLDEN BANK.                                                0.60
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                                                                                                           HOURS
08/03/2022   REVIEW E-MAILS FROM CPA REGARDING TAX COMPLIANCE; SEND E-MAIL TO CPA.                           0.20

08/04/2022   REVIEW BANK STATEMENTS.                                                                           1.20

08/05/2022   REVIEW CONTRACT FOR SALE AND PALOMUR LETTER REGARDING COVERAGE FOR PROPERTY
             LOSS.                                                                                             0.90

08/08/2022   REVISE MOTION FOR BAR DATE.                                                                       0.60
             REVIEW DEPOSITION.                                                                                0.30

08/09/2022   REVIEW SELECTED DEPOSITION TESTIMONY BY UDAYAN.                                                   0.30

08/12/2022   REVIEW DOCUMENTS, DEPOSITION AND E-MAILS FOR INDEMNIFICATION OF CLAIMANTS.                        0.80

08/15/2022   REVIEW OF CASE AUTHORITY AND DENIAL OF CLAIM BY PALOMUR.                                          1.70

08/16/2022   CONTINUE INVESTIGATION REGARDING INSURANCE CLAIM DISALLOWED.                                      0.50

08/19/2022   REVISE MOTION; SEND E-MAIL TO CLIENT.                                                             0.10
             SEND E-MAIL TO CPA REGARDING FRANCHISE TAX RETURN.                                                0.10
             REVIEW E-MAIL FROM BALES AND REGARDING BANK DOCUMENTS.                                            0.10

08/22/2022   PREPARE AND ATTEND ZOOM CONFERENCE WITH DONGTIA MEMBER AND COUNSEL.                               0.80
             REVISE MOTION/ORDER/NOTICE OF BAR DATE.                                                           0.30
             REVIEW CASE AUTHORITY REGARDING ESTABLISHMENT OF BAR DATE.                                        1.10
             CONFERENCE REGARDING UDAYAN PROBATE.                                                              0.10

08/23/2022   REVIEW SEVERAL E-MAILS FROM R. FRANK CPA REGARDING FRANCHISE TAX RETURN.                          0.20
             SEND SEVERAL E-MAILS TO R. FRANK REGARDING FRANCHISE TAX RETURN.                                  0.20
             CONFERENCE REGARDING EQUITABLE RECEIVERSHIP AND ESTABLISHMENT OF BAR DATE.                        0.20
             REVIEW FRANCHISE TAX RETURNS FOR 2017, 2018, 2019 AND 2021.                                       1.00
             REVIEW BAR ORDERS AND DUE PROCESS/STANFORD CASE LAW (5TH CIRCUIT).                                0.90

08/24/2022   REVISE MOTION AND NOTICE FOR BAR DATE.                                                            0.20
             TELEPHONE CONFERENCE WITH R. FRANK, CPA, REGARDING FRANCHISE TAX RETURNS.                         0.20

08/25/2022   REVISE TURNOVER E-MAILS TO COUNSEL AND PROBATE COURT ADMINISTRATOR.                               0.40
             TELEPHONE CONFERENCE WITH A. GERGER REGARDING LOANS TO DONGTAI AND RELATIONSHIP
             OF FOX CAPITAL.                                                                                   0.80
             TELEPHONE CONFERENCE WITH K. WILLIAMS REGARDING REPAIRS AND ACCOUNT PAYABLE TO
             HOTEL.                                                                                            0.40
             REVIEW BANKING DOCUMENT AND E-MAILS FROM K. PATEL REGARDING USE OF CASH FOR
             ACCOUNTS PAYABLES.                                                                                0.80

08/29/2022   SEND E-MAIL TO REGARDING 2020 BANK STATEMENTS.                                                    0.10
             REVIEW 2019 BANK STATEMENTS AND E-MAIL FROM A. GERGER, COUNSEL FOR FOX CAPITAL                    0.50

08/30/2022   TELEPHONE CONFERENCE WITH K. PATEL REGARDING INSURANCE.                                           0.30
             SEND E-MAIL TO A. GERGER REGARDING BANK STATEMENTS.                                               0.10

08/31/2022   REVIEW DOCUMENTS AND CLOSING STATEMENT SUBPOENAED FROM FIDELITY NATIONAL TITLE
             INSURANCE CO.                                                                                     0.90

09/01/2022   TELEPHONE CONFERENCE WITH W. DENT REGARDING COMPUTER ACCESS.                                      0.10
             REVIEW E-MAIL FROM H. WEILBERG REGARDING COMPUTER AND ACCESS.                                     0.10

09/02/2022   TELEPHONE CONFERENCE WITH W. DENT REGARDING IT AND COMPUTER ACCESS.                               0.30
             REVIEW CORRESPONDENCE FROM FIDELITY NATIONAL FROM C. GONZALEZ.                                    0.20
             REVIEW CORRESPONDENCE W. DENT REGARDING COMPUTER FORENSICS.                                       0.10
             REVIEW E-MAIL FROM T. KIEFER REGARDING FORENSICS AND COMPUTER.                                    0.10

09/13/2022   REVIEW E-MAIL FROM S. DAVIS REGARDING FORENSIC EXAMINER.                                          0.10
             REVIEW AND PROVIDE COMMENT REGARDING 2020 AND 2021 FEDERAL INCOME TAX RETURNS.                    0.40

09/14/2022   STRATEGY FOR TURNOVER OF DOCUMENTS FROM PROBATE ADMINISTRATOR AND REVIEW OF
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                                                                                                             HOURS
             PROBATE RECORDS.                                                                                  0.50

09/15/2022   REVIEW E-MAIL FROM PROBATE ADMINISTRATOR.                                                           0.10
             TELEPHONE CONFERENCE WITH MELISSA UDAYAN REGARDING DOCUMENT PRODUCTION AND
             TURNOVER                                                                                            0.20
             REVIEW VARIOUS PROBATE DOCUMENTS AND ORDER APPOINTING TEMPORARY ADMINISTRATOR
             REGARDING FORENSIC ISSUE AND ACCESS TO DOCUMENTS.                                                   0.80
             REVIEW E-MAIL FROM CPA REGARDING TAX ISSUES.                                                        0.20
             REVIEW E-MAIL FROM S. DAVIS REGARDING VIDOC RAZOR AND ACCESS TO INFORMATION.                        0.10
             REVIEW IRS PENALTY LETTER.                                                                          0.10
             REVIEW E-MAIL REGARDING PLACEHOLDER TAX RETURNS.                                                    0.10

09/19/2022   REVIEW FINANCIAL DOCUMENTS AND SERVICE LIST.                                                        0.40

09/20/2022   TELEPHONE CONFERENCE WITH J. WILLIAMS REGARDING REAL ESTATE COMMISSIONS; REVIEW
             BROKER'S MOTION FOR LEAVE TO FILE THIRD PARTY PETITION.                                             0.70

09/21/2022   REVIEW CASE AUTHORITY AND INDEMNITY ISSUES, THIRD PARTY CLAIM.                                      0.60

09/27/2022   SEND E-MAIL TO C. SHETH, ACCOUNTANT.                                                                0.10
             PREPARE FOR ZOOM CONFERENCE WITH EQUITY INTEREST HOLDER AND COUNSEL.                                0.40
             SEND E-MAIL TO B. WEST, CPA AND REVIEW E-MAIL FROM B. WEST REGARDING TAX AND
             FINANCIAL INFORMATION.                                                                              0.30

09/28/2022   TELEPHONE CONFERENCE WITH Y. LI, MR. JIAO AND GRACE LU.                                             0.90
             REVIEW DOCUMENTS PRODUCED BY PROBATE ADMINISTRATOR.                                                 1.10

09/29/2022   PREPARE SERVICE LIST FROM NOTES AND DOCUMENTS.                                                      0.30
             REVIEW ORDER AND CONFERENCE REGARDING MODIFICATION AND BAR DATE; REVIEW E-MAIL
             FROM C. SHETH.                                                                                      0.40

09/30/2022   TELEPHONE CONFERENCE WITH MASSELLI REGARDING INDEMNIFICATION CLAIM; REVIEW
             DAMAGE MODEL OF P. HUI.                                                                             0.80
             REVIEW E-MAIL AND ATTACHMENTS FROM M. MASSELLI.                                                     0.40
             SEND E-MAIL TO Y. LI REGARDING INDEMNITY CLAIM.                                                     0.20
             REVIEW BROKERS' DISCLOSURES IN STATE COURT LITIGATION AND OTHER DISCOVERY.                          0.90
             TELEPHONE CONFERENCE WITH C. SHETH.                                                                 0.40
             CONFERENCE WITH B. WEST, CPA, REGARDING TAX ISSUES.                                                 0.20

10/03/2022   REVIEW MODIFICATION OF MOTION.                                                                      0.10
             TELEPHONE CONFERENCE WITH Y. LI.                                                                    0.10
             REVIEW FEDERAL TAX RETURNS 2017, 2018 AND 2019.                                                     0.40
             SEND E-MAIL TO B. WEST REGARDING TAX RETURNS.                                                       0.10

10/12/2022   REVIEW CORRESPONDENCE FROM IRS.                                                                     0.10
             REVIEW AND EDIT SERVICE LIST.                                                                       0.10
             SEND E-MAIL TO B. WEST, CPA, REGARDING IRS.                                                         0.10

10/13/2022   REVIEW STATE COURT DOCKET AND PLEADINGS REGARDING EVIDENCE AND TRIAL FOR PAYMENT
             OF REAL ESTATE COMMISSION.                                                                          0.40

10/14/2022   REVIEW MULTIPLE E-MAILS FROM M. MUSSALLI REGARDING LITIGATION AND INDEMNITY.                        0.30

10/17/2022   PREPARE CORRESPONDENCE TO CLAIMANTS.                                                                0.30
             REVIEW E-MAIL FROM R. ANDERSON REGARDING IRS.                                                       0.20
             TELEPHONE CONFERENCE WITH Y. LI REGARDING IRS.                                                      0.10
             SEND SEVERAL E-MAILS TO R. ANDERSON REGARDING IRS.                                                  0.20

10/19/2022   REVIEW E-MAIL FROM M. MUSSALLI.                                                                     0.10

10/21/2022   REVIEW E-MAIL REGARDING CLAIM OF HOSPITALITY.                                                       0.10
             REVISE CERTIFICATE OF SERVICE REGARDING NOTICE OF BAR DATE.                                         0.10

10/24/2022   SEVERAL TELEPHONE CONFERENCES WITH Y. LI REGARDING SEALED DOCUMENTS.                                0.20
             REVIEW E-MAIL REGARDING SEALED DOCUMENTS.                                                           0.10
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                                                                                                INVOICE NO.:             149166
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                                                                                                           HOURS
             REVIEW HOSPITALITY PETITION FILED IN STATE COURT.                                               0.30
             TELEPHONE CONFERENCE WITH JANICE WITH NATURA PLAN REGARDING CLAIM.                              0.30
             REVIEW CONTRACT AND RELATED DOCUMENTS REGARDING NATURA PLAN CLAIM.                              0.30
             REVIEW E-MAIL FROM T. TRUMBLEY REGARDING SEALED DOCUMENTS.                                      0.10

10/25/2022   REVIEW E-MAIL FROM M. MUSSALLI REGARDING SERVICE AND ANSWER OF PETITION; REVIEW
             PETITION.                                                                                         0.20

10/26/2022   SEND E-MAIL TO Y. LI REGARDING HOSPITALITY PETITION.                                              0.10
             SEND E-MAIL TO Y. LI REGARDING BANK STATEMENTS.                                                   0.10
             PREPARE FOR TELECONFERENCE; TELEPHONE CONFERENCE WITH Y. LI AND COMPANY
             REPRESENTATIVE.                                                                                   0.70

11/02/2022   REVIEW CORRESPONDENCE SEDGWICK REGARDING CLAIM.                                                   0.10

11/03/2022   REVIEW E-MAIL FROM S. DAVIS REGARDING DOCUMENTS.                                                  0.10

11/07/2022   REVIEW INDEMNITY ISSUE AND E-MAIL FROM COUNSEL.                                                   0.20

11/08/2022   REVIEW E-MAIL FROM M. MUSSALI AND ATTACHMENTS REGARDING CLAIM.                                    0.20
             SEND E-MAIL TO M. MUSSALI REGARDING CLAIM.                                                        0.20
             CONFERENCE REGARDING COUNTERCLAIM AND SCOPE OF INDEMNIFICATION.                                   0.20

11/10/2022   REVIEW E-MAIL FROM S. DAVIS REGARDING PRODUCTION OF DOCUMENTS.                                    0.10

11/16/2022   REVIEW KEY SEARCH WORDS FOR PROBATE ADMINISTRATOR.                                                0.20
             CONFERENCE WITH COUNSEL REGARDING WORK OF FORENSIC FIRM.                                          0.10

11/29/2022   TELEPHONE CONFERENCE WITH LEIB LERNER OF HOLIDAY INN.                                             0.30

12/05/2022   REVIEW APPLICATION FOR REINSTATEMENT OF LLC AND E-MAIL FROM R. FRONK.                             0.30
             SEND E-MAIL TO R. FRONK.                                                                          0.10

12/06/2022   REVIEW CORRESPONDENCE FROM TEXAS COMPTROLLER REGARDING REFUND.                                    0.10

12/08/2022   REVIEW OF DOCUMENTS PRODUCED BY PROBATE ADMINISTRATOR.                                            0.70

12/09/2022   REVIEW OF DOCUMENTS PRODUCED BY PROBATE ADMINISTRATOR.                                            0.20
             TELEPHONE CONFERENCE WITH COUNSEL FOR PLAINTIFFS.                                                 0.40

12/13/2022   REVIEW AND SEND E-MAIL TO M. SAMPLES.                                                             0.10

12/14/2022   CONFERENCE REGARDING AFFIRMATIVE DEFENSE TO CLAIM OF ATTORNEY FEES.                               0.20

12/15/2022   REVIEW E-MAIL FROM PROBATE ADMINISTRATOR REGARDING DOCUMENTS.                                     0.10
             REVIEW COURT ORDER REGARDING SEALED DOCUMENTS.                                                    0.10

12/16/2022   REVIEW PROBATE PRODUCED DOCUMENTS.                                                                0.20

12/19/2022   REVIEW E-MAIL FROM A. HASKEL REGARDING PROOF OF CLAIM; SEND E-MAIL TO A. HASKEL
             REGARDING CLAIM.                                                                                  0.20
             REVIEW OF COURT DOCKET.                                                                           0.20

12/22/2022   CONTINUE REVIEW OF DOCUMENTS PRODUCED BY PROBATE ADMINISTRATOR.                                   0.30
             REVIEW VARIOUS SEALED MOTIONS AND ORDER.                                                          0.40

01/16/2023   REVIEW NEWLY PRODUCED DOCUMENTS FROM PROBATE ADMINISTRATOR REGARDING CLAIMS.                      0.70
             REVIEW AND DISCUSS CONTRACT CLAIM OF INDEMNIFICATION, CHOICE OF VENUE AND CLAIM
             AGAINST THIRD PARTY AGENT.                                                                        0.40

01/17/2023   PREPARE NOTICE OF CLAIMS BAR DATE FOR ADDITIONAL PARTIES THAT MAY HAVE POTENTIAL
             CLAIMS AGAINST DONGTAI.                                                                           0.30

01/19/2023   SEND E-MAIL TO Y. LI AND REVIEW OF ACCOUNTING.
             REVIEW SEVERAL E-MAILS FROM Y. LI.                                                                0.10
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                                                                                                              HOURS
             CONFERENCE REGARDING DOCUMENT PRODUCTION AND STATE COURT LITIGATION.                               0.20

01/20/2023   TELEPHONE CONFERENCE WITH COUNSEL AND SHAREHOLDER.                                                   0.80

01/25/2023   REVIEW E-MAIL FROM S. DAVIS, PROBATE ADMINISTRATOR REGARDING DOCUMENT
             PRODUCTION.                                                                                          0.10

02/02/2023   REVIEW E-MAIL REGARDING STATUS OF PROBATE ADMINISTRATION.                                            0.10

02/07/2023   REVIEW PROOF OF CLAIM FILED BY TEMPORARY ADMINISTRATOR FOR M. UDAYAN; SEND E-MAIL
             TO Y. LE.                                                                                            0.50

02/09/2023   REVIEW E-MAIL FROM N. LLAMAS; SEND E-MAIL TO N. LLAMAS.                                              0.20

02/10/2023   REVIEW E-MAIL FROM M. MUSALLI; REVIEW E-MAIL REGARDING DENIAL OF CLAIM; REVIEW E-MAIL
             AND ATTACHMENTS FROM Y. LE; REVIEW E-MAIL FROM PROBATE ADMINISTRATOR.                                1.10

02/14/2023   REVIEW DOCUMENTS PRODUCED BY TEMPORARY ADMINISTRATOR.                                                1.20

02/16/2023   CONTINUE REVIEW OF PRODUCED DOCUMENTS FROM COURT-APPOINTED ADMINISTRATOR;
             REVIEW PROBATE DOCUMENTS INCLUDING INVENTORY FILED BY COURT ADMINISTRATOR.                           2.20

02/17/2023   CONTINUE REVIEW OF UDAYAN DOCUMENTS.                                                                 1.90

02/21/2023   REVIEW CORRESPONDENCE FROM C. CAMPOS; REVIEW CLAIM; SEND E-MAIL TO C. CAMPOS.                        0.30
             REVIEW AND REVISE MOTION TO ESTABLISH A BAR DATE.                                                    0.20

02/22/2023   REVIEW E-MAIL FROM Y. LI; REVIEW CLAIM PAID BY ZONGHONG; SEVERAL E-MAILS TO Y. LI.                   0.30

02/27/2023   REVIEW AND SEND SEVERAL E-MAILS TO J. PERRYMAN,AND REVIEW SYMMETRY ENERGY CLAIM.                     0.30
             REVIEW MOTION TO MODIFY BAR DATE AND ENJOIN STATE COURT LITIGATION.                                  0.20
             REVIEW MOTION TO MODIFY BAR DATE AND ENJOIN STATE COURT LITIGATION.                                  0.20

02/28/2023   REVIEW COURT ORDERS.                                                                                 0.20

03/01/2023   CONFERENCE REGARDING COURT ORDER, DISSOLUTION, HOLD BACK AND CERTIFICATE OF
             GOOD STANDING.                                                                                       0.10
             CONTINUE DRAFT OF WRITTEN STATEMENT OF FILED PROOFS OF CLAIM.                                        0.30

03/02/2023   SEND E-MAIL TO JAOI; REVIEW SEVERAL E-MAILS FROM JAOI.                                               0.20

03/03/2023   TELEPHONE CONFERENCE WITH C. CAMPOS REGARDING CLAIM NUMBER 10 FILED BY PROPERTY
             CARE SERVICES.                                                                                       0.40
             TELEPHONE CONFERENCE WITH R. FRONK REGARDING FRANCHISE TAX.                                          0.20
             REVIEW E-MAIL FROM R. ANDERSON REGARDING ACCOUNTING.                                                 0.10
             REVIEW E-MAIL FROM J. QIANJU REGARDING CLAIM OF PROPERTY CARE SERVICES.                              0.10
             SEND E-MAIL TO J. QIANJU REGARDING PROPERTY CARE SERVICES CLAIM.                                     0.10

03/06/2023   SEND AND REVIEW SEVERAL E-MAILS AND ATTACHMENTS FROM JIAO REGARDING CLAIM
             OBJECTIONS.                                                                                          0.50
             REVIEW AND SEND E-MAIL TO JIAO REGARDING PLANT LANDSCAPE CLAIM NUMBER 5.                             0.20

03/07/2023   REVIEW E-MAIL FROM JIAO REGARDING CLAIM ANALYSIS.                                                    0.10
             TELEPHONE CONFERENCE WITH C. CAMPOS.                                                                 0.40
             ANALYZE CLAIM OF PROBATE ESTATE.                                                                     0.90

03/08/2023   TELEPHONE CONFERENCE WITH Y. LI REGARDING CLAIM OF PROBATE ESTATE; SEND E-MAIL TO
             JIAO; SEND E-MAIL TO H. LIU, COUNSEL FOR HEWLETT-PACKARD; REVIEW E-MAIL AND CLAIM OF
             HEWLETT-PACKARD; REVIEW CREDITOR MATRIX; REVIEW MOTION, ORDER AND UDAYAN
             DECLARATION REGARDING INSURANCE ALLOCATION; REVIEW E-MAIL FROM Y. LI.                                3.80

03/09/2023   SEND E-MAIL TO H. LIU REGARDING CLAIM OBJECTION.                                                     0.10
             REVIEW E-MAIL FROM JIAO REGARDING PROPERTY CARE SERVICES.                                            0.10
             REVIEW CLAIM OBJECTION FILED BY UNITED AIR.                                                          0.10
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                                                                                                                 HOURS
03/10/2023   REVIEW AND SEND E-MAIL TO H. LIU, COUNSEL FOR HEWLETT-PACKARD.                                        0.20

03/13/2023   TELEPHONE CONFERENCE WITH A. GERGER REGARDING PAYMENTS FROM RECEIVER IN 2021.                            0.20

03/14/2023   REVIEW AND EDIT OBJECTIONS TO CLAIMS.                                                                    0.30

03/15/2023   REVIEW SEVERAL E-MAILS FROM C. CAMPOS-PCS.                                                               0.30

03/17/2023   TELEPHONE CONFERENCE WITH S. BARNES.                                                                     0.20
             REVIEW MOTION TO WITHDRAW.                                                                               0.10

03/20/2023   TELEPHONE CONFERENCE WITH S. BARNES.                                                                     0.30

03/23/2023   REVIEW, EDIT AND REVISE OBJECTION TO PCS CLAIM.                                                          0.30
             REVISE LETTER TO R. MILLER, PURPORTED HOLDER OF NOTE AND LIEN AND DEMAND FOR
             ACCOUNTING.                                                                                              0.30

03/27/2023   REVIEW AND EDIT OBJECTION TO CLAIM OF ESTATE OF UDAYAN.                                                  0.40
             SEND E-MAIL TO Y. LI; REVIEW E-MAIL FROM Y. LI REGARDING ESTATE CLAIM OBJECTION.                         0.10

03/28/2023   REVIEW CORRESPONDENCE REGARDING IRS CLAIM; SEND E-MAIL TO R. ANDERSON.                                   0.20

03/29/2023   REVIEW OBJECTION TO P. HUI CLAIM FILED BY PLAINTIFFS.                                                    0.10

03/30/2023   REVIEW PLAINTIFF'S OBJECTIONS TO CLAIMS FILED BY PROPERTY CARE SERVICES, ESTATE OF
             MICHAEL UDAYAN AND UNITED AIR.                                                                           0.40

03/31/2023   REVIEW E-MAIL FROM R. ANDERSON, CPA, REGARDING ABATEMENT OF IRS PENALTIES.                               0.10

04/10/2023   SEND E-MAIL TO R. ANDERSON REGARDING IRS.                                                                0.10
             REVIEW SEVERAL E-MAILS FROM CPA REGARDING IRS AND PENALTY.                                               0.10

04/14/2023   REVIEW E-MAIL FROM K. BIRCH.                                                                             0.10

05/04/2023   REVIEW RESPONSES FILED BY HUI, PCS AND HEWLETT PACKARD; REVIEW E-MAIL FROM JAIO.                         0.50

05/05/2023   SEND E-MAIL TO S. BARNES.                                                                                0.10

05/08/2023   TELEPHONE CONFERENCE WITH COUNSEL FOR EQUITY INTEREST HOLDERS.                                           0.30
             REVIEW INDEMNITY AGREEMENT SIGNED BY UDAYAN.                                                             0.10
             REVIEW THREE RESPONSES TO CLAIM OBJECTIONS.                                                              0.40

05/11/2023   REVIEW E-MAIL FROM S. BARNES.                                                                            0.10

05/12/2023   REVIEW REPLY IN SUPPORT OF OBJECTION OF PETER HUI.                                                       0.20

05/15/2023   REVIEW AND COMMENT REGARDING REPLY TO PCS RESPONSE.                                                      0.20
             REVIEW REPLY BY PLAINTIFFS TO HUI CLAIM.                                                                 0.10

05/16/2023   REVIEW PLAINTIFF'S REPLY TO HUI CLAIM.                                                                   0.20
             REVIEW E-MAIL FROM COUNSEL FOR HEWLETT PACKARD.                                                          0.10

05/18/2023   REVIEW E-MAIL COUNTEROFFER TO HUI AND DISCUSS SAME.                                                      0.10

05/19/2023   REVIEW SUBPOENA REGARDING PROPERTY CARE SERVICES.                                                        0.10

05/22/2023   REVIEW E-MAIL FROM HEWLETT PACKARD COUNSEL AND CONFERENCE REGARDING STIPULATED
             AGREED ORDER.                                                                                            0.10

05/26/2023   REVIEW E-MAIL AND SUBPOENA TO PCS AND COUNSEL.                                                           0.10

06/05/2023   REVIEW EMAIL FROM M. MUSSALLI REGARDING PETER HUI; CONFERNCE REGARDING MEDIATION;
             SEND SEVERAL EMAILS TO JAIO QIANJU.                                                                      0.60
             FOR CURRENT SERVICES RENDERED                                                                           78.80   49,654.00
          Case 4:19-cv-01848 Document 226-2 Filed on 06/22/23 in TXSD Page 7 of 7                                           PAGE: 7
DONGTAI INVESTMENT GROUP, LLC                                                                                         JUNE 08, 2023
                                                                                                CLIENT.MATTER NO.    190218-22296
                                                                                                      INVOICE NO.:          149166
FEDERAL RECEIVERSHIP - (RJS TIME)




                                                           EXPENSES

        MAIL OUT                                                                                                             29.97
        CERTIFIED COPIES                                                                                                      6.00
        MESSENGER                                                                                                            44.97
        TOTAL EXPENSES THRU 06/07/2023                                                                                       80.94

        TOTAL CURRENT WORK                                                                                               49,734.94


        BALANCE DUE                                                                                                     $49,734.94

        PLEASE REMIT                                                                                                    $49,734.94




                         The State Bar of Texas investigates and prosecutes professional misconduct
                       committed by Texas Attorneys. Although not every complaint against or dispute
                        with a lawyer involves professional misconduct, the State Bar Office of General
                         Counsel will provide you with information about how to file a complaint. For
                                            more information call 1-800-932-1900.

                                     PLEASE INDICATE OUR INVOICE NO. ON YOUR CHECK

                                            FEDERAL TAX ID NUMBER: XX-XXXXXXX
